Case 2:16-cr-00104-SWS Document 134 Filed 05/15/17 Page1of1

Anne Bowline, RMR, CRR

United States Court Reporter
United States District Court
District of Wyoming
111 South Wolcott Street, Room 217
Casper, WY 82601
(307) 235-3376
anne@professionalreporting.com

May 15, 2017

Ms. Elisabeth A. Shumaker

Clerk of Court

U.S. Tenth Circuit Court of Appeals

1832 Stout Street

Denver, CO 80257

Re: USDC No. 16-CR-104-SWS, USCA No. 17-8028, United States v. Hebert
Dear Ms. Shumaker:

The following transcripts have been filed with the Clerk of Court in the District of Wyoming:
10/7/2016 — status conference

10/21/2016 — motion to suppress

10/24/2016 through 10/27/2016 — complete tnal proceedings

3/23/2017 — sentencing

Filed on May 15, 2017.

Sincerely,

{sf Anne Bowline

Anne Bowline
